                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                          CIVIL ACTION NO. 3:13-CR-263-RJC-DCK

UNITED STATES OF AMERICA,                          )
                                                   )
                Plaintiff,                         )
                                                   )
      v.                                           )      ORDER
                                                   )
(1)        RICO ANTWAN BARNETT,                    )
(2)        PATRICK GERARD CHAMBERS,                )
              a/k/a P-CHAINS                       )
(3)        ROBERT CHAVIUS FLOYD,                   )
(4)        RASHON DONTE HUNTER,                    )
(5)        OMARIS DUSHAWN MCMILLER,                )
               a/k/a TURBO                         )
(6)        DENNIS JAMERE PAGAN,                    )
               a/k/a MERE                          )
(7)        MELVIN EUGENE BURRIS, JR.,              )
(8)        DARRAL JAVARIUS ANDERSON,               )
               a/k/a LITTLE PETE                   )
(9)        MICHAEL TRAVIS FLOYD,                   )
               a/k/a CHAD                          )
(10)       JOSHUA RODREGUS GLENN,                  )
               a/k/a PAPER                         )
(11)       JAMES EDGAR TYLER,                      )
               a/k/a WHITE BOY                     )
(12)       BRYAN ANTHONY SANDERS,                  )
               a/k/a BUBBA                         )
(13)       KENNETH MAURICE PRESSLEY,               )
               a/k/a NEW YORK                      )
(14)       JERMAINE ANTONIO ROSS,                  )
               a/k/a ROCK,                         )
                                                   )
                Defendants.                        )
                                                   )


           THIS MATTER IS BEFORE THE COURT on Plaintiff’s “Motion To Unseal

Indictment” (Document No. 41) filed September 30, 2013. This motion has been referred to the

undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is

appropriate. Having carefully considered the motion and the record, and applicable authority,

the undersigned will grant the motion.



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      IT IS, THEREFORE, ORDERED that Plaintiff’s “Motion To Unseal Indictment”

(Document No. 41) is GRANTED.

      SO ORDERED.
                                  Signed: October 1, 2013




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